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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 16-cv-02304-WJM-GPG

   MEGAN MCFADDEN,
   LONNIE WHITE, and
   ANTONIO “A.J.” WHITE,

          Plaintiffs,

   v.

   TOWN OF MEEKER, COLORADO, a municipality,
   MEEKER HOUSING AUTHORITY, a governmental entity,
   MELINDA PARKER, an individual,
   MICHELLE BUCKLER, an individual,
   EDY GEORGE, an individual, and
   STACIE KINCHER, an individual,

          Defendants.

   ______________________________________________________________________

            FIRST SECOND AMENDED COMPLAINT AND JURY DEMAND
   ______________________________________________________________________

          Plaintiffs Megan McFadden (“Megan”), Lonnie White (“Lonnie”) and Antonio

   “A.J.” White (“A.J.”) (collectively referred to as “Plaintiffs”), by and through counsel

   Laura B. Wolf, Siddhartha H. Rathod, Matthew J. Cron, and Qusair Mohamedbhai of

   RATHOD ǀ MOHAMEDBHAI LLC, bring the following First Second Amended Complaint and

   Jury Demand against the Town of Meeker, Colorado (“Meeker”), the Meeker Housing

   Authority (“MHA” or “Defendant MHA”), Melinda Parker (“Defendant Parker”), Michelle

   Buckler ( “Defendant Buckler”), Edy George (“Defendant George”), and Stacie Kincher (

   “Defendant Kincher”) (collectively referred to as “Defendants”) and in support state as

   follows:
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                                     I.         INTRODUCTION

          1.     This is an action under the Fair Housing Act (“FHA”), 42 U.S.C. §§ 3601,

   et seq., as amended, and § 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794

   (“§ 504”).

          2.     In 1973, Congress passed § 504 of the Rehabilitation Act, the first statute

   providing federal civil rights protections for people with disabilities.

          3.     Section 504 prohibits discrimination based on handicap in all programs

   receiving federal financial assistance, including housing complexes. See generally 42

   U.S.C. § 794(a); Hwang v. Kansas State Univ., 753 F.3d 1159, 1161 (10th Cir. 2014).

          4.     In response to a history of and continuing national discrimination against

   individuals with disabilities, Congress enacted amendments to the FHA in 1988. The

   purpose of the FHA Amendments was to prohibit discrimination in the national housing

   market for individuals with disabilities.1

          5.     “The Fair Housing Amendments Act . . . is a clear pronouncement of a

   national commitment to end the unnecessary exclusion of persons with handicaps from

   the American mainstream. It repudiates the use of stereotypes and ignorance, and

   mandates that persons with handicaps be considered as individuals. Generalized

   perceptions about disabilities and unfounded speculation about threats to safety are

   specifically rejected as grounds to justify exclusion.” H.R. Rep. No. 100-711, at 18

   (1988), reprinted in 1988 U.S.C.C.A.N 23173, 2179.

          6.     Expanding on the previously enacted FHA, which prohibited discrimination



   1
    The FHA uses the term “handicap,” see, e.g., 42 U.S.C. § 3602(h), which has the same
   meaning as disability. Plaintiffs use the term disabled interchangeably with handicapped.



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   in housing based on race, color, religion, and national origin, the FHA, as amended,

   responded to a recognized prejudice against those with disabilities and illnesses.2

          7.       Plaintiffs Lonnie White, A.J. White, and Megan McFadden are the types of

   individuals Congress sought to protect under § 504 and the FHA amendments. A.J.

   and Megan each have a disability and use companion animals, with the

   recommendation of their health professionals, to assist with disability-related needs.

   Lonnie, A.J.’s father, lives with and cares for his son, a person who has a disability and

   uses companion animals to assist with disability-related needs.

          8.       A.J. has a history of suffering from severe depression and Attention

   Deficit/Hyperactivity Disorder (“ADHD”). A.J.’s depression and ADHD substantially limit

   major life activities such as his ability to care for himself, concentrate, remember,

   interact with others, and cope with stress. A.J. relies on his companion cats Genki and

   Haim to manage his disabilities, per the recommendation of his mental health

   professional.

          9.       Megan suffers from chronic depression and anxiety. Megan’s disabilities

   substantially limit her ability to care for herself, complete daily tasks, interact with others,

   cope with stress, and sleep. Megan relies on her companion dog Chewy to manage her

   disability, per the recommendations of her mental health professional and medical

   doctor.

          10.      Defendants own and manage Meeker Family and Elderly Housing located

   at 980 Karen Court, Meeker, Colorado 81641 (referred to as “Karen Court”). Karen

   Court, through Defendant MHA, is financially subsidized by the U.S. Department of


   2
    The Fair Housing Act as amended, is sometimes referred to as FHAA. For ease of reference,
   Plaintiffs refer to it as “FHA.”


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   Housing and Urban Development (“HUD”) through HUD’s Project Based Section 8

   Subsidy Program. See generally U.S. DEP’T HOUS. & URBAN DEV., U.S. COLORADO

   AFFORDABLE HOUSING GUIDE, available at

   http://portal.hud.gov/hudportal/documents/huddoc?id=COAffordableHsgGuide.pdf.

   Through this program, tenants pay a significantly reduced rent based on their income.

   At all times giving rise to this action, Plaintiffs lived in Karen Court and received

   subsidized housing based on their low incomes.

          11.    Prior to June 16, 2016, Plaintiffs were permitted to keep pets in their units

   upon providing documentation showing that their companion animals assisted them.

   On June 16, 2016, Defendants revised their pet policy to render it a “no-pet policy” and,

   in direct contravention of federal civil rights law, began insisting that Plaintiffs pay a

   $300.00 non-refundable pet fee for each companion animal and provide a letter from a

   medical doctor, as opposed to a mental health professional, outlining their need for

   companion animals.

          12.    Plaintiffs made repeated requests for the reasonable accommodation that

   the no-pet policy and pet fee be waived, while also providing multiple letters written by

   mental health professionals explaining that Plaintiffs are disabled and recommending

   the continued use of companion animals for their disabilities. Defendants disregarded

   these letters and denied Plaintiffs’ requests for reasonable accommodations. In

   retaliation for having made requests for reasonable accommodation, Defendants began

   a campaign of citing Plaintiffs for keeping their companion animals in violation of

   Defendants’ new no-pet policy. Defendants then served Plaintiffs with 30-Day Notices

   to Vacate, forcing them to look for housing elsewhere that they could not afford. In so




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   acting, Defendants violated Plaintiffs’ federal civil rights under the FHA and § 504.

                         II.    JURISDICTION, VENUE, AND PARTIES

          13.     Subject matter jurisdiction of this Court is proper pursuant to 28 U.S.C.

   §§ 1331, 1343, and 42 U.S.C. §§ 3612-13.

          14.     Jurisdiction supporting Plaintiffs’ federal claims for actual and punitive

   damages is conferred by 42 U.S.C. § 3613(c)(1), and 29 U.S.C. § 794a(b). The Court

   has supplemental jurisdiction over Plaintiffs’ related state law claims under 28 U.S.C. §

   1367. Jurisdiction supporting Plaintiffs’ claims for attorneys’ fees and costs is conferred

   by 42 U.S.C. § 3613(c)(2), and 29 U.S.C. § 794a(b). This action is authorized and

   instituted pursuant to the FHA, 42 U.S.C. §§ 3601, et seq., as amended, and § 504 of

   the Rehabilitation Act, 29 U.S.C. § 794, and 42 U.S.C. § 1983.

          15.     Venue is proper within this District under 28 U.S.C. § 1391(b). All of the

   events alleged herein occurred within the jurisdiction of the United States District Court

   of Colorado, Defendant MHA’s business is in this District, and all of the individual

   parties were residents of the State of Colorado and citizens of the United States at the

   time of the events giving rise to this litigation.

          16.     Plaintiff Megan McFadden is a citizen of the United States and resident of

   and domiciled in the State of Colorado.

          17.     Plaintiff Lonnie White is a citizen of the United States and resident of and

   domiciled in the State of Colorado.

          18.     Plaintiff A.J. White is a citizen of the United States and a resident of and

   domiciled in the State of Colorado.

          19.     Defendant Town of Meeker (“Meeker”) is a Colorado municipality.




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          20.     Meeker receives funding from the federal government.

          21.     Meeker created the Meeker Housing Authority (“MHA”) pursuant to C.R.S.

   § 29-4-201, et seq. When it was originally formed, MHA’s office was located within

   Meeker Town Hall.

          22.     Meeker created MHA in order to meet its goal of providing a decent home

   and suitable living environment for all (existing and new) residents of Meeker regardless

   of age, sex, race, creed, or socio-economic status. This goal is inherent in Meeker’s

   short- and long-range objectives. Meeker recognizes that positive concerted community

   action toward implementation of its housing goal is required.

          23.     Meeker, through its Board of Trustees, appoints each MHA Board member

   pursuant to C.R.S. § 29-4-205.

          24.     Meeker advertises to fill empty seats on the MHA Board, and it considers

   sitting on the MHA Board to be a service to the community. Applicants for positions on

   the MHA Board are directed to contact Meeker’s Town Hall in addition to MHA.

          25.

          19.     Meeker delegates its power to oversee, manage, and run the MHA to

   these appointed Board members.

          20.26. Defendant MHA manages Meeker Family and Elderly Housing, located at

   980 Karen Court, Meeker, CO 81641, which is referred to as Karen Court (hereinafter

   “Karen Court”).3 Karen Court is an apartment complex consisting of federally

   subsidized apartments where Plaintiffs resided at the time of the events giving rise to

   this action.


   3
    Throughout this complaint, all references to Karen Court are to be considered interchangeable
   with references to Defendant MHA.


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          21.27. Defendant MHA is a “person” as that term is used and defined in the FHA,

   42 U.S.C. § 3602(d). Defendant MHA has continuously been “in the business of . . .

   renting dwellings” within the meaning of the FHA, 42 U.S.C. § 3603, at all times relevant

   to the allegations in this Complaint.

          22.28. Defendant MHA is a recipient of federal financial assistance from the U.S.

   Department of Housing and Urban Development (“HUD”) and is therefore an entity with

   capacity to be sued under § 504.

          23.29. Defendant Melinda Parker was, at all relevant times, a Board Member of

   Defendant MHA, a citizen of the United States, and a resident of the State of Colorado.

   In her role as Board Member, Defendant Parker is responsible for adopting and

   implementing policies for Defendant MHA.

          24.30. Defendant Michelle Buckler was, at all relevant times, a Board Member of

   Defendant MHA, a citizen of the United States, and a resident of the State of Colorado.

   In her role as Board Member, Defendant Buckler is responsible for adopting and

   implementing policies for Defendant MHA.

          25.31. Defendant Edy George was, at all relevant times, a Board Member of

   Defendant MHA, a citizen of the United States, and a resident of the State of Colorado.

   In her role as Board Member, Defendant George is responsible for adopting and

   implementing policies for Defendant MHA.

          32.    Defendant Stacie Kincher was, at all relevant times, the Property Director

   of Defendant MHA, a citizen of the United States, and a resident of the State of

   Colorado. In her role as Property Director, Defendant Kincher is responsible for

   enforcing policies for Defendant MHA.




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         33.    MHA and its Board members act as agents of Meeker in performing the

   roles of overseeing, managing, and running Karen Court. Through this relationship with

   Meeker, MHA has an obligation to provide decent, safe, and sanitary housing pursuant

   to Meeker’s goals and objectives.

         34.    Meeker presently holds, at a minimum, an advisory role over the

   operations of MHA and its appointed Board members. In this role, Meeker asserts

   either direct or indirect control over the operations of MHA and the actions of MHA’s

   Board members.




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                                 II.        FACTUAL ALLEGATIONS

                                        A. Plaintiffs Lonnie and A.J. White

       A.J. White Suffers from a Disability and His Companion Cats Help Manage His
                                          Disability




                                       A.J. and his companion cats Genki.

          27.36. A.J. is twenty years old and lives with his father Lonnie.

          28.37. A.J. is a person with (1) a “handicap” as that term is defined in the FHA,

   42 U.S.C § 3602(h), (2) a “disability” as that term is used in § 504, and (3) a “handicap”

   as defined in regulation implementing § 504, 24 C.F.R. § 8.3.

          29.38. Prior to living with his father, A.J. lived with his mother and stepfather in

   Florida.

          30.39. A.J. was verbally and physically abused by his stepfather. During this

   time, A.J. became withdrawn and suicidal, struggling socially and at school.

          31.40. Mental health professionals at Sun Coast Mental Health in Vero Beach,

   Florida diagnosed A.J. with severe depression and prescribed medication. It was the

   emotional support of his cat Genki, however, that provided A.J. the most relief.

          32.41. In January 2014, at the age of seventeen, A.J. moved to Colorado to live

   with his father Lonnie.



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           33.42. In moving to Colorado, A.J. had trouble adjusting without the comfort and

    relief provided by Genki, who remained in Florida. He again became withdrawn and

    suicidal, struggled to focus in school, and found himself having a hard time focusing.

           34.43. A.J.’s new mental health team at Mind Springs Health in Meeker,

    Colorado diagnosed A.J. with Attention Deficit/Hyperactivity Disorder (“ADHD”) and put

    him on medication.

           35.44. A.J.’s ADHD and depression substantially limit major life activities,

    including his ability to care for himself, work, concentrate, remember, interact with

    others, and cope with stress.

           36.45. ADHD and depression are disabilities under the FHA and § 504.

           37.46. Finding that the medications he was prescribed made him feel worse, and

    desperate for relief, A.J. asked his dad if Genki could come live with them.




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      Lonnie and A.J. White Move into Karen Court and Notify Defendants that They
                Intended to Get a Cat for A.J.’s Disability-Related Needs




                             A.J. and his companion cats Genki and Haim.

           38.47. In February 2014, Lonnie and A.J. White moved in to a subsidized

    apartment at Karen Court.

           39.48. Rent at Karen Court is based on income, as the landlord receives

    subsidies from the federal government through HUD to make up the difference between

    the reduced rent and market value.

           40.49. Based on his low income, Lonnie pays rent in the amount of $125.00 per

    month.

           41.50. Karen Court is governed by the rules and policies promulgated by

    Defendants.

           42.51. Upon moving in, Lonnie informed then-director Karen Garcia that A.J. had

    a disability and would require the assistance of a cat.

           43.52. At the time of Ms. Garcia’s and Lonnie’s communication regarding the cat,


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    Defendants had in a place a pet policy that allowed for tenants to keep animals that

    provided a documented assistance.

           44.53. In February 2014, Defendant MHA’s pet policy read, in pertinent part, as

    follows:

           Absolutely no pets are allowed at Karen Court with the one exception to the
           rule being: where such animal assists a tenant or family member, and
           documentation for such assistance has been obtained by third party
           verification from a reputable source, by the Director.

           45.54. Ms. Garcia informed Lonnie that a cat would be permitted subject to

    Lonnie’s providing a letter from A.J.’s mental health professional explaining that A.J.

    needed the cat for emotional support.

           46.55. When Lonnie and A.J. first moved into their apartment, a number of other

    tenants at Karen Court owned and maintained pets on the premises.

           47.56. After determining that it would take some time to get Genki from Florida,

    and given A.J.’s need for an emotional support animal to assist with A.J.’s disability,

    Lonnie and A.J. acquired another emotional support cat, Haim.

           48.57. When Genki was able to join Lonnie and A.J. in Colorado, Ms. Garcia

    reiterated that the cats would be fine as long as they had a letter documenting that the

    cats provided disability-related assistance.

           49.58. On January 22, 2015, Lonnie and A.J. acquired a letter from Catherine E.

    Eliasen, a licensed clinical social worker, which stated that A.J. had a disability and that

    having cats in his home helps him manage the symptoms of his disability.

           50.59. Lonnie and A.J. provided a copy of this letter to Ms. Garcia.

           51.60. Ms. Garcia placed a copy of this letter into Lonnie and A.J.’s file, which is

    kept by Defendants.


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           52.61. Genki and Haim provide A.J. with a routine and responsibilities, which

    help him manage his ADHD. The cats wake A.J. up every morning and it is then his

    responsibility to feed them and change their litter box.

           53.62. Staying regimented and scheduled by way of taking care of his cats has

    helped A.J. manage his ADHD without medication.

           54.63. In addition to the structure Genki and Haim provide, the soothing, calming

    affection and mutual reliance between A.J. and the cats help alleviate many of the

    negative consequences of A.J.’s depression. The cats give A.J. a reason to get out of

    bed and confidence in his ability to take care of them.

           55.64. Lonnie has found that after a particularly stressful or emotional day for

    A.J., A.J. will only communicate with Lonnie after spending time alone with his

    companion cats.

           56.65. Lonnie and A.J. lived at Karen Court with Genki and Haim without

    complaint or issue for nearly two and a half years.

    Defendants Unlawfully Changed their Pet Policy, Demanding a Doctor’s Note and
               $300.00 Non-Refundable Fee for A.J.’s Companion Cats

           57.66. On June 16, 2016, Defendants revised their pet policy to a “no-pet” policy.

           58.67. The June 16, 2016 no-pet policy states, in pertinent part, that companion

    animals must meet the guidelines set by the Board of Directors of MHA, which includes

    the new requirement that a tenant provide a letter from a medical doctor concerning the

    need for a companion animal.

           59.68. The no-pet policy explicitly states that MHA will not accept letters

    concerning the need for a companion animal from a psychologist, psychotherapist, or

    therapist.



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           60.69. A Joint Statement issued by HUD and the Department of Justice (“DOJ”)

    on May 17, 2004 regarding the FHA provides that, “[a] doctor or other medical

    professional, a peer support group, a non-medical service agency, or a reliable third

    party who is in a position to know about the individual’s disability may also provide

    verification of a disability.” Joint Statement of the Dep’t of Hous. and Urban Dev. and

    the Dep’t of Justice, Reasonable Accommodations under the Fair Housing Act, 13-14

    (May 17, 2004), available at http://www.hud.gov/offices/fheo/library/huddojstatement.pdf

    [hereinafter Joint Statement on Reasonable Accommodations].

           61.70. Defendants’ refusal to accept letters from reliable sources other than a

    medical doctor unlawfully limits Lonnie’s and A.J.’s ability to provide documentation of

    A.J.’s disability-related needs for an assistance animal, in contravention of federal law

    and agency guidance.

           62.71. The June 2016 no-pet policy revision also required tenants to pay a non-

    refundable pet fee of $300.00 for each pet.

           63.72. Pursuant to the May 17, 2004 Joint Statement issued by HUD and DOJ,

    “The housing provider may not require the applicant to pay a fee or a security deposit as

    a condition of allowing the applicant to keep the assistance animal.” Joint Statement on

    Reasonable Accommodations at 9.

           64.73. Defendants’ demand that individuals with disabilities pay a fee as a

    condition of keeping their companion animals is unlawful and discriminatory.

           65.74. On July 12, 2016, Lonnie received a notice of violation and infraction for

    having a pet in his apartment.

           66.75. Lonnie was told that he had until the end of the month to pay the fee.




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           67.76. At $300.00 per animal, Lonnie was facing a $600.00 fee to keep Genki

    and Haim. For Lonnie, who pays $125 per month in rent based on his income, $600.00

    is nearly five months of rent.

           68.77. On July 20, 2016, Lonnie went to the Board of Directors meeting to

    request a reasonable accommodation for A.J.’s companion cats.

           69.78. Lonnie explicitly requested that Defendants waive the no-pet policy and

    pet fees in order for A.J. to keep his two companion cats in the unit.

           70.79. Lonnie provided Defendants with a copy of the January 2015 letter from

    A.J.’s licensed clinical social worker indicating that A.J. was disabled and that his two

    companion cats assist with his disability-related needs.

           71.80. Lonnie also asked if he could pay the pet fee in a way that was more

    financially manageable for him, such as by paying an additional $50 with his rent each

    month, despite the fact that federal law dictates that disabled individuals be permitted to

    live with their companion animals without charge.

           72.81. In response to these requests, Defendant Parker questioned how Lonnie

    could afford to keep pets when he was living in low-income housing.

           73.82. Pursuant to an April 24, 2013 HUD Notice, housing providers are

    permitted to ask only for “reliable documentation of a disability and their disability-

    related need for an assistance animal.” U.S. DEP’T OF HOUS. AND URBAN DEV., SERVICE

    ANIMALS AND ASSISTANCE ANIMALS FOR PEOPLE WITH DISABILITIES IN HOUSING AND HUD-

    FUNDED PROGRAMS 3 (April 25, 2013), available at

    https://portal.hud.gov/hudportal/documents/huddoc?id=servanimals_ntcfheo2013-01.pdf

    [hereinafter HUD Service and Assistance Animals Report].




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           74.83. Defendant Parker’s question about Lonnie’s financial capability is outside

    the scope of what housing providers are permitted to ask and was intended to harass

    and embarrass Lonnie in retaliation for his having sought a reasonable accommodation

    for his son’s disability.

           75.84. On July 21, 2016, the day after the board meeting, Defendant Kincher

    sent Lonnie a letter denying his request for reasonable accommodation which read, in

    pertinent part:

                   After considerable consideration, the MHA board of directors, [sic]
                   made its decision to keep the zero pet policy enforced at Karen
                   Court. It was also agreed upon that there will be a $300 non-
                   refundable deposit for each pet that qualifies for being a certified
                   therapeutic pet through the state of Colorado. The only exception to
                   this rule would be a true “service” animal.

           76.85. While the DOJ amended its regulations for Titles II and III of the

    Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12101, et seq., to exclude

    emotional support animals from the definition of “service animal,” the April 24, 2013

    HUD Notice explicitly outlines that, “this definition does not limit providers’ obligations to

    make reasonable accommodations for assistance animals under the FHA or § 504.”

    HUD Service and Assistance Animals Report at 1.

           77.86. On July 22, 2016, Defendants sent Lonnie a notice of violation and

    infraction for having a pet in his apartment.

           78.87. On July 27, 2016, Defendants again revised the MHA pet policy.

           79.88. The July 27, 2016 pet policy revision mandates, among other things, that

    all residents who are eligible to keep a companion animal must:

                      Demonstrate that they have the physical and financial capability to

                       care for the companion animal;


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                     Provide a letter from a licensed psychiatrist attesting to the need for a

                      companion animal; and

                     Provide evidence of a nexus between the companion animal and the

                      debility attested to by the licensed professional.

           80.89. Defendants’ July 27, 2016 pet policy was issued for the purposes of

    discriminating and retaliating against Lonnie and A.J. for having made their requests for

    reasonable accommodation.

           81.90. The July 27, 2016 no-pet policy requirements far exceed the scope of

    what housing providers are permitted to request pursuant to HUD and DOJ guidance.

           82.91. In the July 27, 2016 no-pet policy revision, Defendants also set forth rules

    for residents with companion animals, including:

                     One (1) companion animal maximum per household

                     Residents shall not permit their companion animal to disturb, interfere,

                      or diminish the peaceful enjoyment of other residents including but not

                      limited to growling, barking, howling, and chirping.

                     If companion animals are left unattended for a period of twelve hours

                      or more, the MHA may enter the dwelling unit and remove the

                      companion animal.

                     Damages caused by a companion animal will be withheld from a

                      required $300.00 non-refundable security deposit.

           83.92. Defendants’ limitations on companion animals are not reasonable and

    instead violate federal law.

           84.93. Defendants’ decision to place a limit on companion animals to one per unit



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    is a form of discrimination and retaliation directed against Lonnie and A.J.

           85.94. The July 27, 2016 no-pet policy revision also states, “The privilege of

    maintaining a companion animal in a facility owned/operated by the Meeker Housing

    Authority shall be subject to the rules set forth above. This privilege may be revoked at

    any time, subject to the Meeker Housing Authority Board of Directors . . . .”

           86.95. A companion animal is not a privilege but a federally protected right.

           87.96. On August 5, 2016, Defendants sent Lonnie a 10-day notice of violation

    and infraction for having a pet in his apartment.

           88.97. On August 12, 2016, Defendant Kincher asked Lonnie for proof of income

    despite the fact that Lonnie was not scheduled to have his income reassessed until

    November.

           89.98. Defendant Kincher’s request was motivated by Defendants’ desire to

    harass and intimidate Lonnie in retaliation for his having asserted his federal rights and

    in discrimination of his son’s need for companion animals.

     Defendants Served Plaintiff Lonnie White with Notice of Eviction in Violation of
                                     Federal Law

           90.99. On August 16, 2016, Defendants sent Lonnie a 30-Day Notice to Vacate.

           91.100.       The August 16, 2016 Notice to Vacate listed the following reason:

                  Pet policy violation and you no longer qualify due to the age of your son
                  and he has graduated school. Also you have not reported your income to
                  the Housing Authority.

           92.101.       The August 16, 2016 Notice to Vacate did not advise the Whites

    that should they remain in the unit, MHA may seek to enforce the termination of their

    lease only by bringing a judicial action, at which time the Whites may present a defense,

    as required by 24 C.F.R. § 247.4(a).



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           93.102.         The August 16, 2016 Notice to Vacate did not advise the Whites

    that they had ten days in which to discuss the proposed termination of tenancy with their

    landlord, per HUD guidelines and regulations. See HUD Handbook 4350.3: Occupancy

    Requirements of Subsidized Multifamily Housing Programs § 8-13(B)(2)(c)(4), available

    at http://port al.hud.gov/hudportal/documents/huddoc?id= 43503HSGH.pdf [hereinafter

    “HUD Handbook 4350.3”]; see also 24 C.F.R. § 880.607(c)(1) (stating that the owner

    must advise the family facing termination that it has an opportunity to respond to the

    termination notice).

           94.103.         The August 16, 2016 Notice to Vacate did not advise the Whites

    that persons with disabilities have the right to request reasonable accommodations to

    participate in the hearing process, as required by HUD Handbook 4350.3, § 8-

    13(B)(2)(c)(5).

           95.104.         The August 16, 2016 Notice to Vacate was the first written notice

    regarding issues of income that Lonnie received and came just three business days

    after Defendant Kincher first asked for the information, which was not due until

    November 2016.

           96.105.         The August 16, 2016 Notice to Vacate was the first notice of any

    kind – either written or oral – regarding A.J. White’s age, and fails to specify what

    provision of the lease has been violated that would allow for termination of the lease on

    such grounds.

           97.106.         On August 17, 2016, Lonnie acquired a second letter from

    Catherine Eliasen, M.S.W, A.J.’s licensed clinical social worker.

           98.107.         The August 17, 2016 letter states that A.J. is diagnosed with




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    ADHD, that he has increased difficulty coping with stress and can become depressed,

    and that it is helpful for A.J. to have his cats in his home to manage these symptoms.

           99.108.       In the August 17, 2016 letter, Ms. Eliasen also indicates that A.J.

    has been able to manage his disabilities without medication due to the responsibility of

    caring for his cats and the calming affection they provide.

           100.109.      Ms. Eliasen’s letter further posits that having the care of his cats is

    much less expensive and certainly has less likelihood of negative side effects than

    medications.

           101.110.      Detailed and extensive information or documentation of

    impairments is not required from disabled tenants seeking reasonable accommodations.

    See Joint Statement on Reasonable Accommodations at 13-14.

           102.111.      On August 27, 2016, Lonnie sent Defendant Kincher an email

    message with A.J.’s disability letters attached, asking that she reconsider his eviction

    and assuring her that he was getting his income information together.

           103.112.      On August 29, 2016, Defendant Kincher responded to Lonnie by

    email summarily denying Lonnie’s request for reconsideration of eviction.

           104.113.      In the August 29, 2016 email, Defendant Kincher disregarded A.J.’s

    therapist letter, stating that Defendants require a letter from a medical doctor.

           105.114.      The August 29, 2016 email from Defendant Kincher also indicated

    that Lonnie had violated his lease by not claiming Supplemental Security Income from

    A.J. in his income information.

           106.115.      A.J. does not receive Supplemental Security Income.

           107.116.      Defendant Kincher concludes the August 29, 2016 letter by stating,




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    “[T]his has nothing to do with your pets.”

           108.117.        While the August 29, 2016 letter states that “this has nothing to do

    with your pets,” Defendants cited Lonnie numerous times for violating the no-pet policy

    and listed pet violations as one of the reasons for his receiving a 30-Day Notice to

    Vacate.

           109.118.        The 30-Day Notice to Vacate indicates that Lonnie and A.J. White

    will be forced to vacate by September 15, 2016.

           110.119.        Defendants’ actions have caused and continue to cause Lonnie

    and A.J. extreme anxiety, humiliation, and emotional distress.

           111.120.        Due to Defendants’ unlawful actions, Lonnie has been forced to

    apply for and place a deposit on an apartment that he cannot afford.

           121.    If evicted, Lonnie may not be able to find another affordable home for he

    and A.J. to live in.

      MHA Defendants Retaliated Against Lonnie and A.J. White for Asserting Their
      Right to be Free of Disability Discrimination and Retaliation Through Litigation


           122.    In response to Plaintiffs’ filing the present lawsuit, MHA Defendants have

    engaged in a campaign of harassment against Lonnie and A.J. White in attempts to

    constructively or directly evict them from Karen Courts.

           123.    Plaintiffs filed the present lawsuit to assert their right to live free of

    disability discrimination and retaliation in their homes.

           124.    In October 2016, MHA Defendants notified the Court of their ongoing duty

    to comply with all HUD regulations and guidelines, citing HUD Handbook 4350.3 in

    support.




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           125.   Despite taking this position with the Court, MHA Defendants have

    intentionally neglected their duties under HUD regulations and guidelines in order to

    craft a mechanism by which to constructively or directly evict the Whites.

           126.   MHA Defendants have hired a second set of counsel for the primary

    purpose of learning how to evict the Whites under the guise of HUD compliance.

           127.   MHA Defendants have also instructed their service provider – Able Real

    Estate Services, owned and operated by Mike McKenzie – to determine ways to

    increase the Whites’ rent.

           128.   On March 14, 2017, MHA Defendants notified the Whites that the Whites

    had failed timely to report to their annual recertification interview and that they were in

    danger of losing their housing assistance payments.

           129.   On March 16, 2017, the Whites responded that they had not failed to

    undergo the annual recertification interview, as MHA Defendants had never provided

    the Whites with any written notices of the recertification as required by HUD regulations

    and guidelines.

           130.   On March 21, 2017, MHA Defendants produced for the first time copies of

    two written notices that had never before been provided to the Whites regarding their

    obligation to undergo the recertification process. The notices were back-dated to

    September 6, 2016 and October 4, 2016.

           131.   On that same day, MHA Defendants admitted that no third notice was ever

    provided to the Whites, despite HUD regulations and guidelines requiring at least three

    written notices. MHA Defendants blamed their failure to follow HUD regulations and

    guidelines on the present litigation.




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           132.   On March 23, 2017, the Whites explained to MHA Defendants that not

    only had these notices never before been provided to the Whites, but that the notices

    were also deficient on their face for failing to contain a number of required pieces of

    information, including but not limited to (1) the name of the staff person to contact to

    schedule the recertification, their contact information, and method of contact, (2) the

    location, days, and office hours that property staff would be available to undergo

    recertification, and (3) the list of information the tenant needed to bring to the interview.

           133.   The notices also unlawfully threatened to terminate the Whites’ tenancy

    should they fail to respond, instead of simply notifying the Whites that their assistance

    may be terminated (i.e. that their rent would be raised to market value).

           134.   According to the back-dated notices, the Whites were supposed to

    undergo their annual recertification by no later than February 1, 2017.

           135.   If more than 15 months pass between two annual recertifications, HUD will

    cease providing housing assistance payments to a subsidized housing provider until

    such time that the annual recertification is submitted. Knowing this, MHA Defendants

    waited until halfway through March (Month 14) before notifying the Whites that their

    Housing Assistance Payments were in danger of being terminated.

           136.   If Housing Assistance Payments are terminated due to a housing

    provider’s neglect or delay, the housing provider suffers the loss of the payment while

    the tenant continues to pay their previously calculated rent until such time as the annual

    recertification paperwork is processed and a 30-day notice of rent increase is provided.

    HUD Handbook 4350.3 § 7-8 ¶ D(1)(c)(2).

           137.   Despite never having received a valid written notice regarding the annual




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    recertification process, the Whites offered in good faith to undergo the process to help

    ensure that MHA Defendants did not lose the housing assistance payments for the

    Whites’ unit.

           138.     The Whites and MHA scheduled the Whites’ annual recertification

    interview on April 20, 2017. Upon the Whites’ arrival at the meeting, Defendant Kincher

    handed the Whites a notice dated April 19, 2017 informing them that their housing

    assistance payments would be terminated.

           139.     The notice of termination is deficient in a number of ways.

           140.     First, the notice states that the housing assistance payments would be

    terminated because after having reviewed the Whites’ income on April 20, 2017, MHA

    discovered that the Whites were no longer eligible for a housing subsidy. Considering

    that the Whites had only just arrived to provide MHA with information regarding their

    income, this reason cannot be considered valid.

           141.     Second, the attachment to the notice includes a form sent to HUD

    terminating the housing assistance payments for the tenant’s failure to timely undergo

    the income recertification process. Because the reason for the termination is the

    owner’s delay, the reason should have been listed as “Other.”

           142.     Third, the notice informs the Whites that their rent will be increased to

    $717 per month effective January 31, 2017. Meanwhile, HUD regulations and

    guidelines do not allow for rent increases except on the first of the month.

           143.     Fourth, the notice was never sent to the Whites’ unit via certified mail, as

    required under HUD guidelines regardless of hand delivery.

           144.     Fifth, the notice informed the Whites that they had until April 29, 2017 to




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    appeal the termination, which is only nine days after its delivery as opposed to the

    requisite ten days.

            145.   The Whites filed an appeal of the Termination of Assistance on April 28,

    2017, citing primarily the reasons listed above in support.

            146.   Despite having filed an appeal, MHA Defendants have yet to notify the

    Whites of the appeal process or of the date of any hearing.

            147.   On May 3, 2017, the Whites received on their door an unsigned notice

    from MHA Defendants informing them of multiple income discrepancies going back to

    2014.

            148.   According to the letter, MHA Defendants receive Enterprise Income

    Verification (“EIV”) Reports on a quarterly basis informing them of all income

    discrepancies with all tenants. HUD guidelines make it incumbent on housing providers

    to respond in a timely manner to all discrepancies found on EIV Reports.

            149.   MHA Defendants now allege that between February 1, 2015 and January

    31, 2016, the Whites failed to provide information regarding A.J.’s income, including

    after he graduated from high school. Meanwhile, MHA Defendants have been aware

    since prior to the commencement of this litigation that A.J. did not graduate from high

    school until June 2016.

            150.   Under HUD regulations and guidelines, a household has no duty to report

    the earnings of a full-time student (even if the student is no longer a minor) except if

    such a question is presented during the annual recertification on a written questionnaire.

    If such a question is presented, the housing provider must ask for information regarding

    the student’s entire income, but it may not consider more than $480 per year as




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    household income.

           151.   Upon review of the Whites’ entire tenant file, the Whites never received

    any such questionnaire and thus are not at fault for any failure to provide this

    information. Moreover, even if the information had been provided, the household

    income could only be increased by $480 per year. HUD, meanwhile, only requires that

    discrepancies be rectified if the household earned a difference of more than $2,400 per

    year between their reported income and the EIV report.

           152.   MHA Defendants have also been aware since at least November 18, 2016

    that its former director Karen Garcia knew that A.J. White was working and decided not

    to undergo an interim recertification to report his income. When a housing provider

    knowingly fails to undergo an interim recertification, the housing provider has waived the

    right to collect this amount from the tenants at a later date.

           153.   Even after Ms. Kincher was hired to replace Ms. Garcia, MHA Defendants

    failed at any time to provide the Whites with written notice of an interim recertification.

           154.   At the latest, Ms. Kincher was made personally aware that A.J. White was

    working full time and no longer in high school on August 27, 2016.

           155.   The May 3, 2017 notice conspicuously fails to explain why the Whites had

    not been previously notified of discrepancies in their income considering that MHA

    receives quarterly EIV reports.

           156.   The Whites are unaware of any other tenant undergoing this much

    scrutiny of their finances outside of a HUD-mandated review. In fact, HUD conducted a

    compliance review of the property in September 2016 and did not report any

    discrepancies with the Whites’ income, while reporting a large number of other




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    discrepancies for MHA Defendants to immediately rectify.

           157.    In October 2016, MHA received an “Unsatisfactory” ranking in their HUD

    compliance review, the lowest ranking possible. Since completing the necessary steps

    to retain its subsidized housing status, MHA has taken no steps to rectify its

    management or its knowledge of HUD regulations and guidelines with respect to any

    tenant except for the Whites.

           158.    The May 3, 2017 notice also conspicuously fails to mention that MHA has

    been over-charging the Whites’ rent since A.J. moved into the unit. Because A.J. is

    disabled, the household is entitled to a $400 deduction in rent in addition to a deduction

    for all medical expenses, which include costs associated with caring for assistance

    animals. Because the Whites’ rent has been lower than $400 each month since they

    moved in, MHA Defendants owe the Whites a significant amount in overpaid rent during

    these last three and a half years.

           159.    Despite knowing that MHA has been overcharging the Whites, MHA

    Defendants are now requiring that the Whites meet with MHA to enter into a repayment

    plan to pay unspecified amounts to HUD in order to continue remaining in their unit at

    Karen Court.

           112.160.      MHA Defendants have taken these steps knowing that they are

    non-compliant with HUD regulations and guidelines in order to constructively evict the

    Whites through fear and intimidation, or to begin the process of evicting the Whites by

    subjecting them to a repayment plan seeking unspecified sums of money MHA

    Defendants know are not owed.




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                                      B. Plaintiff McFadden

       Plaintiff Megan McFadden Suffers from a Disability and Her Companion Dog
                        Chewy Helps Her to Manage Her Disability




                                         Megan and Chewy

           113.161.      Megan is a mother of two children, an eight-year-old daughter and

    a three-year-old son.

           114.162.      Megan is a person with (1) a “handicap” as that term is defined in

    the FHA, 42 U.S.C. 3602(h), (2) a “disability” as that term is used in § 504; and (3) a

    “handicap” as defined in regulation implementing § 504, 24 C.F.R. § 8.3.

           115.163.      Megan has a history of anxiety and depression for which she has

    been diagnosed and prescribed medication.

           116.164.      Megan’s anxiety and depression stem largely from trauma and

    abuse suffered when she was younger.


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           117.165.         Megan’s anxiety and depression cause her to suffer severe panic

    attacks.

           118.166.         Megan also experiences suicidal ideation as a symptom of her

    anxiety and depression.

           119.167.         Megan’s anxiety and depression as well as the resulting panic

    attacks and suicidal ideation substantially limit her ability to sleep, care for herself,

    complete daily tasks, work, interact with others, and cope with stress.

           120.168.         In December 2015, Megan moved into a subsidized apartment at

    Karen Court where, because of her low income, she does not pay rent.

           121.169.         In February 2016, Megan met her dog Chewy while visiting a friend.

           122.170.         Megan’s friend was looking for a home for Chewy and offered

    Megan the opportunity to take care of Chewy.

           123.171.         Megan found that Chewy’s companionship and calming presence

    improved her ability to cope with stress and mitigated her feelings of anxiety and

    depression.

           124.172.         When Megan is overwhelmed with feelings of fear, anxiety, and

    depression, petting Chewy helps calm her.

           125.173.         Under the belief that she could not have a pet at Karen Court,

    Megan had Chewy live with family members offsite.

           126.174.         In or around February 2016, Megan asked then-director Karen

    Garcia if Chewy could come to her apartment for visits. Ms. Garcia agreed that such

    visits would be fine.

           127.175.         Megan arranged for Chewy to visit the apartment three times per




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    week.

            128.176.     These regular visits took place without complaint or incident.

            129.177.     At some point thereafter, Chewy began to live with Megan full-time.

            130.178.     Megan lived at Karen Court with Chewy without complaint or issue.

       Defendants Demanded a Doctor’s Note and $300.00 Non-Refundable Fee for
                              Megan to Keep Chewy

            131.179.     Pursuant to the June 16, 2016 no-pet policy, Defendants

    demanded that Megan pay a $300.00 non-refundable pet deposit and provide a letter

    from a medical doctor in order to keep having her companion animal visit her apartment.

            132.180.     Ms. McFadden suffered a panic attack when Defendant Kincher

    informed her that Chewy would no longer be permitted to visit.

            133.181.     On July 12, 2016, Megan acquired a letter from her licensed clinical

    social worker, Catherine Eliasen, MSW, explaining that Megan has a disability and that

    it is helpful for her to have Chewy in her home in order to manage her disability.

            134.182.     Upon providing this letter to Defendants, Defendants notified

    Megan that they would not accept letters in support of permitting a pet on the premises

    from any source other than a medical doctor.

            135.183.     On July 22, 2016, Megan acquired a letter from Dr. A. Michael

    Vargas, M.D., documenting that Megan was a patient of his and suffers from chronic

    depression and anxiety.

            136.184.     Dr. Vargas’s letter states that Megan has shown great improvement

    with the use of her companion dog in her home and recommends that Megan continue

    to use her companion dog for emotional support to manage her depression and anxiety

    and to mitigate suicidal ideations.



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           137.185.      On the same day, July 22, 2016, Defendants sent Megan a Second

    Notice of Violation and Infraction for having a pet in her apartment at Karen Court.

    Defendants never sent Ms. Megan a first notice.

           138.186.      On July 25, 2016, Megan went to Defendant Kincher to request a

    reasonable accommodation, specifically that the no-pet policy and pet fee be waived for

    her companion animal.

           139.187.      During this July 25, 2016 meeting, Defendant Kincher told Megan

    that she could not have pets because the Board was “cracking down.” Defendant

    Kincher also informed Megan that she already knew the Board would deny the request

    and that she was “tired of moving up the proper chains” with respect to submitting

    Megan’s reasonable accommodation requests to the Board.

           140.188.      At least twice during this meeting Defendant Kincher insisted that

    Megan would have to pay $300 per companion animal. When Megan told Defendant

    Kincher that she could not legally charge a fee, Defendant Kincher said, “You’re going

    to have to take us to court.” After Megan said that she had already filed a complaint

    with HUD, Ms. Kincher responded, “Take us to court. That’s really it.”

           141.189.      During this meeting, Megan provided Defendant Kincher with a

    letter from Ms. Eliasen, MSW. She also informed Defendant Kincher that she would

    soon be providing a letter from a medical doctor, even though the law did not require

    her to do so.

           Defendants Ignored Megan’s Doctors Letters, Denied Her Reasonable
                  Accommodation Request, and Ordered Her to Vacate

           142.190.      On July 27, 2016, Defendants sent Megan a 30-Day Notice to

    Vacate, citing in support her violations of the no-pet policy.



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           143.191.     The July 27, 2016 Notice to Vacate did not advise Ms. McFadden

    that should she remain in the unit, MHA may seek to enforce the termination of her

    lease only by bringing a judicial action, at which time Ms. McFadden may present a

    defense, as required by 24 C.F.R. § 247.4(a).

           144.192.     The July 27, 2016 Notice to Vacate did not advise Ms. McFadden

    that she had ten days in which to discuss the proposed termination of tenancy with her

    landlord, per HUD guidelines and regulations. See HUD Handbook 4350.3, § 8-

    13(B)(2)(c)(4).

           145.193.     The July 27, 2016 Notice to Vacate did not advise Ms. McFadden

    that persons with disabilities have the right to request reasonable accommodations to

    participate in the hearing process, as required by HUD Handbook 4350.3, § 8-

    13(B)(2)(c)(5).

           146.194.     On the same day, July 27, 2016, Defendants revised their pet

    policy for a second time in less than six weeks.

           147.195.     On August 5, 2016, Megan sent Defendant Kincher an email

    message expressing her surprise that she had received a 30-Day Notice to Vacate after

    having requested a reasonable accommodation complete with a doctor’s note. In this

    email, Megan again asked Defendant Kincher to grant her a reasonable

    accommodation.

           148.196.     Defendant Kincher denied Megan’s request for a reasonable

    accommodation and noted that Defendant MHA never received any information

    regarding a companion animal until two notices were given.

           149.197.     Pursuant to the May 17, 2004 Joint Statement issued by HUD and




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    DOJ, “[T]he Fair Housing Act does not require that a request be made in a particular

    manner or at a particular time.” See Joint Statement on Reasonable Accommodations

    at 10.

             150.198.     After reiterating her request for a reasonable accommodation and

    resending Dr. Vargas’s and Ms. Eliasen’s letters, Defendant Kincher again denied

    Megan’s request for a reasonable accommodation on August 22, 2016, claiming without

    support that HUD allows local public housing authorities to set their own pet regulations

    and charge nominal pet deposits.

             151.199.     On August 24, 2016, Megan sent an email to Defendant Kincher

    expressing her fear that she would be homeless with children and requested again that

    she be allowed to stay with her dog or at least be given an extension.

             152.200.     Defendants responded to Megan that an extension would only be

    conditioned on Chewy’s removal from the unit.

             153.201.     Unable to part with Chewy due to her medical needs, and in a

    constant state of anxiety and fear of harassment, Megan and her children were forced

    to vacate their home.

             154.202.     As a result of the sudden upheaval and resulting uncertainty

    caused by Defendants’ actions, Megan’s eight-year-old daughter was forced to move in

    with her grandmother so that she could stay enrolled in her school, leaving Megan with

    limited access to her daughter and leaving her daughter with limited access to both her

    mother and her brother.

             203.   Defendants’ actions have caused Ms. McFadden and her children to suffer

    significant emotional distress and financial harm, amongst other injuries.




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     MHA Defendants Retaliated Against Megan McFadden for Asserting Her Right to
         be Free of Disability Discrimination and Retaliation Through Litigation


           204.   In response to Plaintiffs’ filing the present lawsuit, MHA Defendants have

    engaged in a campaign of harassment against Megan McFadden.

           205.   Plaintiffs filed the present lawsuit to assert their right to live free of

    disability discrimination and retaliation in their homes.

           206.   In October 2016, MHA Defendants notified the Court of their ongoing duty

    to comply with all HUD regulations and guidelines, citing HUD Handbook 4350.3 in

    support.

           207.   Despite taking this position with the Court, MHA Defendants have

    intentionally neglected their duties under HUD regulations and guidelines in order to

    craft a mechanism by which to bring a frivolous counterclaim against Ms. McFadden.

           208.   Ms. McFadden was forced to move out of her subsidized unit at Karen

    Court on September 8, 2016 under threats of eviction for violating MHA Defendants’

    unlawful pet policy.

           209.   In December 2016, MHA Defendants brought a counterclaim against Ms.

    McFadden seeking an unspecified amount of lost rental income and repair costs related

    to her having vacated the unit in September 2016.

           210.   MHA Defendants discovered that Ms. McFadden had vacated her unit no

    later than September 9, 2016.

           211.   On or around September 9, 2016, Ms. Kincher as Executive Director of

    MHA entered Ms. McFadden’s unit to determine whether Ms. McFadden had completed

    her move-out. Ms. Kincher then contacted Ms. McFadden to confirm that she had




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    moved out.

           212.   MHA Defendants failed to notify HUD that Ms. McFadden had vacated her

    unit until October 31, 2016. Between September 9, 2016 and October 31, 2016, MHA

    Defendants unlawfully submitted vouchers to HUD on behalf of Ms. McFadden and

    collected Housing Assistance Payments of approximately $1,565 in her name.

           213.   Despite having received $1,565 from the federal government between

    September 9, 2016 and October 31, 2016 by claiming that Ms. McFadden continued to

    live at Karen Court, MHA Defendants are suing Ms. McFadden for $2,413 in lost rent.

           214.   Another tenant began living in Ms. McFadden’s unit on December 1, 2016.

    In turn, November 2016 is the only month that MHA Defendants did not receive rent for

    Ms. McFadden’s unit, for a total loss of $921.

           215.   Ms. McFadden is not liable for MHA’s loss in rental income, as MHA

    Defendants intentionally chose to wait until late November 2016 to make all repairs.

    Insofar as the unit was uninhabitable until the repairs were completed, MHA Defendants

    are liable for the lost rental income suffered due to their delay.

           216.   MHA Defendants understood that under HUD regulations and guidelines,

    as well as Colorado law, they had a duty to inspect Ms. McFadden’s unit for any needed

    repairs and to send Ms. McFadden a list of all projected repairs and costs within 30

    days of discovering that she vacated the unit.

           217.   MHA Defendants also had a duty to offer Ms. McFadden a walk-through

    inspection of the unit before she moved out, which they failed to do.

           218.   MHA Defendants never sent Ms. McFadden a list of the projected repairs

    and costs such that Ms. McFadden could not object to the repairs or their costs before




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    they were undertaken, in violation of state law and HUD regulations and guidelines.

          219.   MHA Defendants neglected to make any repairs to Ms. McFadden’s unit

    for more than two months, only beginning to make repairs in late-November 2016.

    These repairs were made in response to an application by a prospective tenant seeking

    to move into Ms. McFadden’s unit on December 1, 2016.

          220.   MHA Defendants never notified HUD of the needed repairs, which would

    have entitled MHA Defendants to a partial subsidy to mitigate their losses during the

    time Ms. McFadden’s unit was being repaired. MHA Defendants failed to mitigate their

    alleged loss in order to increase the value of their counterclaim against Ms. McFadden.

          221.   In April 2017, MHA Defendants revealed for the first time their calculation

    that Ms. McFadden owed $3,281 for the costs of repair, an amount reflecting more than

    three and a half months of market rent for Ms. McFadden’s unit.

    Ms. McFadden had only lived in that specific unit beginning in June 2016, and yet MHA

    attributes to Ms. McFadden the need to replace curtains, paint the unit, replace the

    refrigerator, replace the carpet, and replace outlet and light covers. These repairs,

    meanwhile, appear to have been needed on account of regular wear and tear.

          222.   MHA Defendants have been on notice for many months that their failure to

    provide Ms. McFadden notice of the projected cost of repairs prior to engaging in the

    repairs and within 30 days of her vacating the unit precludes MHA Defendants from

    seeking the $3,281 in damages allegedly incurred. MHA Defendants refuse, however,

    to dismiss the counterclaim against Ms. McFadden.

          223.   MHA Defendants sued Ms. McFadden for breach of contract, specifically

    breach of her lease.




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          224.    After numerous requests to review Ms. McFadden’s lease, MHA

    Defendants admit that they cannot locate a copy of it. Despite having no copy of the

    lease, Defendants rely on the terms of the lease as the basis for the counterclaim

    against Ms. McFadden.

          225.    Finally, after failing to serve Ms. McFadden a timely notice of repair costs,

    MHA Defendants never returned to Ms. McFadden her $50 security deposit, in violation

    of Colorado state law.

          226.

          155.    MHA Defendants have brought this counterclaim against Ms. McFadden

    knowing that it cannot move forward legally based upon their failure to follow state law

    and HUD regulations and guidelines. MHA Defendants have taken these steps to

    retaliate against Ms. McFadden for having brought the present lawsuit, as well as to

    coerce, intimidate, and harass Ms. McFadden into dismissing her claims against MHA

    Defendants.




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                         III.    STATEMENT OF CLAIMS FOR RELIEF

                                   FIRST CLAIM FOR RELIEF
               Federal Fair Housing Act, as amended, 42 U.S.C. §§ 3601, et seq.
                                           Discrimination
                              (All Plaintiffs Against All Defendants)

           156.227.       Plaintiffs hereby incorporate all of the paragraphs of this First

    Second Amended Complaint as if fully set forth herein.

           157.228.       Plaintiffs are “aggrieved person[s]” as defined in 42 U.S.C. §

    3602(i) and suffered injuries as a result of Defendants’ discriminatory actions and

    conduct.

           158.229.       Plaintiff A.J. White’s depression and ADHD are impairments that

    substantially limit one or more major life activities.

           159.230.       Plaintiff Megan McFadden’s anxiety and depression are

    impairments that substantially limit one or more major life activities.

           160.231.       Plaintiffs A.J. and Megan are “handicapped” as defined in 42

    U.S.C. § 3602(h), and this statutory term as used in this Complaint has the same

    meaning as “disabled.”

           161.232.       Plaintiff Lonnie White lives with and cares for A.J.

           162.233.       Lonnie is the leaseholder for the unit in which A.J. lives.

           163.234.       Plaintiffs requested reasonable accommodations from Defendants

    in response to Defendants’ pet policies when each Plaintiff provided letters from mental

    health professionals indicating that they had a disability-related need for companion

    animals to stay in their apartment.




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           164.235.       Such a reasonable accommodation – an exemption from the no-pet

    policy and pet deposit – was necessary to afford Plaintiffs equal opportunity to use and

    enjoy their dwellings.

           165.236.       The proposed accommodations would not have imposed and did

    not impose an undue financial or administrative burden on Defendants and did not

    require a fundamental alteration in the nature of Defendants’ programs. This is

    evidenced by the fact that until June 16, 2016, Defendants had permitted pets in units

    without suffering an undue financial or administrative burden.

           166.237.       Waiver of Defendants’ no-pet policy and pet deposit would have

    been a reasonable accommodation.

           167.238.       Defendants, directly or through their agents, discriminated against

    Plaintiffs on the basis of disability through their conduct and acts, inter alia, as follows:

                  a. By failing to accept reliable documentation of Plaintiffs’ disabilities and

                  disability-related need for companion animals;

                  b. By demanding that Plaintiffs pay a fee as a condition of receiving a

                  reasonable accommodation;

                  c. By demanding the immediate removal of Plaintiffs’ companion animals;

                  d. By issuing Notices of Violation and Infraction to Plaintiffs for keeping

                  companion animals in their homes after Plaintiffs had provided reliable

                  documentation of their need for the companion animals; and

                  e. By issuing Plaintiffs 30-Day Notices to Vacate.

           168.239.       Defendants’ unlawful conduct and acts deprived Plaintiffs of the

    equal opportunity to use and enjoy their dwelling at Karen Court.




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            169.240.     As a result of Defendants’ discriminatory conduct, Plaintiffs have

    suffered significant injuries, damages, and losses.


                                    SECOND CLAIM FOR RELIEF
                                            42 U.S.C. § 3617
                                                Retaliation
                                 (All Plaintiffs Against All Defendants)

            170.241.     Plaintiffs incorporate all of the paragraphs of this First Second

    Amended Complaint as if fully set forth herein.

            171.242.     Plaintiffs engaged in conduct and speech in opposition to

    Defendants’ discriminatory housing practices by exercising their rights afforded by

    federal fair housing laws.

            172.243.     Plaintiffs requested reasonable accommodations because they

    reasonably believed that Defendants’ refusal to accommodate their disabilities and

    disability-related needs was in violation of the FHA.

            173.244.     Defendants, directly or through their agents, retaliated against

    Plaintiffs because Plaintiffs exercised rights afforded to them under federal fair housing

    laws.

            174.245.     Defendants subjected Plaintiffs to adverse housing actions when

    they refused Plaintiffs’ repeated requests for reasonable accommodations, demanded

    the removal of Plaintiffs’ service animals, issued Plaintiffs Notices of Infraction, and

    issued Plaintiffs Notices to Vacate, forcing Plaintiffs to seek housing elsewhere.

            175.246.     Defendants have offered no legitimate reasons for their adverse

    housing actions, refusing to change or waive their no-pet policy despite its

    unlawfulness.




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           176.247.      Defendants treated Plaintiffs less favorably than similarly situated

    tenants at Karen Court who did not engage in protected opposition to Defendants’

    discriminatory housing practices.

           177.248.      Defendants’ conduct was engaged in with malice or with reckless

    indifference to the federally protected rights of Plaintiffs within the meaning of the FHA.

           178.249.      As a result of Defendants’ retaliatory actions, Plaintiffs have

    suffered significant injuries and losses.

                                    THIRD CLAIM FOR RELIEF
                                          42 U.S.C. § 3617
                                             Interference
                               (All Plaintiffs Against All Defendants)

           179.250.      Plaintiffs hereby incorporate all of the paragraphs of this First Second

    Amended Complaint as if fully set forth herein.

           180.251.      Section 3617 of the FHA provides as follows: “It shall be unlawful to

    coerce, intimidate, threaten, or interfere with any person in the exercise or enjoyment of,

    or on account of his having exercised or enjoyed, or on account of his having aided or

    encouraged any other person in the exercise or enjoyment of, any right granted or

    protected by [the Fair Housing Act].”

           181.252.      Plaintiffs A.J. and Megan are “handicapped” as defined in 42

    U.S.C. § 3602(h), and this statutory term as used in this Complaint has the same

    meaning as “disabled.”

           182.253.      Plaintiff Lonnie lives with an individual who is “handicapped” as

    defined in 42 U.S.C. § 3602(h).

           183.254.      By requesting reasonable accommodations, Plaintiffs exercised or

    enjoyed a right protected by the FHA.



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           184.255.       At least in part, Defendants’ conduct and actions were motivated by

    intentional discrimination.

           185.256.       Defendants’ conduct and actions as described above constitute

    coercion, intimidation, a threat, or interference on account of Plaintiffs having exercised

    their rights protected under the FHA.

           186.257.       Defendants’ conduct, as described herein, constituted a pattern of

    harassment, invidiously motivated, due to Plaintiffs’ disabilities or disability-related needs.

           187.258.       As a result of Defendants’ interference with Plaintiff’s federally

    protected rights under the FHA, Plaintiffs have suffered significant injuries, damages, and

    losses.

                                   FOURTH CLAIM FOR RELIEF
                     § 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794
                                             Discrimination
                                (All Plaintiffs Against All Defendants)

           188.259.       Plaintiffs hereby incorporate all of the paragraphs of this First

    Second Amended Complaint as if fully set forth herein.

           189.260.       Plaintiffs A.J. White and Megan McFadden have a “disability” as the

    term is used in § 504 and a “handicap” as defined in regulations implementing § 504, 24

    C.F.R. § 8. 3.

           190.261.       Plaintiff Lonnie White lives with a person with a “disability” as the

    term is used in § 504 and a “handicap” as defined in regulations implementing § 504, 24

    C.F.R. § 8. 3.

           191.262.       Defendants receive federal financial assistance through subsidies

    provided by HUD.




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           192.263.       Defendants failed and continue to fail to make the subsidized

    apartments of Defendant MHA usable by individuals with disabilities who benefit from

    and rely on companion animals to manage their disabilities.

           193.264.       Defendants’ no-pet policy has a disparate impact on individuals

    with disabilities who benefit from and rely on companion animals.

           194.265.       Defendants’ pet deposit requirement constitutes a form of

    intentional discrimination against individuals with disabilities that benefit from and rely

    on companion animals.

           195.266.       Defendants’ decision to maintain the no-pet policy and pet deposit

    against Plaintiffs despite repeated requests for reasonable accommodation is a form of

    discrimination against Plaintiffs on account of their disabilities or disability-related

    needs.

           196.267.       In their conduct toward Plaintiffs, as set forth above, Defendants

    recklessly and intentionally discriminated against Plaintiffs on the basis of disability in

    violation of § 504.

           197.268.       At a minimum, Defendants acted with deliberate indifference to the

    strong likelihood that pursuit of their no-pet policy would likely result in a violation of

    federally protected rights.

           198.269.       As a result of Defendants’ discriminatory conduct, Plaintiffs have

    suffered significant injuries, damages, and losses.

                                    FIFTH CLAIM FOR RELIEF
                    § 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794
                                              Retaliation
                               (All Plaintiffs Against All Defendants)

           199.270.       Plaintiffs hereby incorporate all of the paragraphs of this First



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    Second Amended Complaint as if fully set forth herein.

           200.271.       Plaintiffs engaged in conduct and speech in opposition to

    Defendants’ discriminatory housing practices by exercising their rights afforded by

    federal civil rights laws.

           201.272.       Plaintiffs requested reasonable accommodations because they

    reasonably believed that Defendants’ refusal to accommodate their disabilities was in

    violation of federal civil rights laws.

           202.273.       Defendants, directly or through their agents, retaliated against

    Plaintiffs because they exercised rights afforded to them under federal civil rights laws.

           203.274.       Defendants subjected Plaintiffs to adverse housing actions when

    they refused Plaintiffs’ repeated requests for reasonable accommodations, demanded

    the removal of Plaintiffs’ service animals, issued Plaintiffs Notices of Infraction, and

    issued Plaintiffs Notices to Vacate, forcing Plaintiffs to seek housing elsewhere.

           204.275.       Defendants have offered no legitimate reasons for their adverse

    housing actions, refusing to change or waive their no-pet policy despite its

    unlawfulness.

           205.276.       Defendants treated Plaintiffs less favorably than similarly situated

    tenants at Karen Court who did not engage in protected opposition to Defendants’

    discriminatory housing practices.

           206.277.       Defendants’ conduct was engaged in with malice or with reckless

    indifference to the federally protected rights of Plaintiffs within the meaning of § 504 of

    the Rehabilitation Act.




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           207.278.       As a result of Defendants’ retaliatory actions, Plaintiffs have

    suffered significant injuries and losses.

                                     SIXTH CLAIM FOR RELIEF
                            42 U.S.C. § 1983 - Fourteenth Amendment
                          Deprivation of Property Without Due Process
                         (Plaintiff Megan McFadden Against All Defendants)

           208.279.       Plaintiffs hereby incorporate all of the paragraphs of this First

    Second Amended Complaint as if fully set forth herein.

           209.280.       At all times relevant to this claim, Defendants Meeker, MHA,

    Parker, Buckler, George, and Kincher were “persons” under 42 U.S.C. § 1983.

           210.281.       At all times relevant to this claim, Defendants Parker, Buckler,

    George, and Kincher in their collective role as the MHA Board acted as final

    policymakers for Meeker in their role adopting and implementing policies for the Meeker

    Housing Authority.

           211.282.       At all times relevant to this claim, Defendants Parker, Buckler,

    George, and Kincher were acting under color of state law in their capacities as MHA

    Board members appointed by Meeker’s Board of Trustees.

           212.283.       At all times relevant to this claim, Defendant MHA acted as a final

    policymaker for Meeker in its role managing the Meeker Family and Elderly Housing

    project known as Karen Court, including enforcing policies adopted by its Board

    members appointed by Meeker’s Board of Trustees.

           213.284.       At all times relevant to this claim, Defendant MHA was acting under

    color of state law in its capacity as a public housing authority created pursuant to

    Colorado Revised Statute § 29-4-201, et seq.




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           214.285.      Plaintiffs’ receipt of subsidized housing through their participation in

    the Project Based Section 8 Subsidy program administered by Defendants is a property

    interest protected by the due process clause of the Fourteenth Amendment. See

    Caulder v. Durham Hous. Auth., 433 F.2d 998, 1002 (4th Cir. 1970); Goldberg v. Kelly,

    397 U.S. 254 (1970).

           215.286.      Plaintiffs have a clearly established right under the Fourteenth

    Amendment not to be deprived of their property without due process of law.

           216.287.      Any reasonable person acting under color of state law knew or

    should have known of this clearly established right.

           217.288.      The Due Process Clause of the Fourteenth Amendment mandates

    the opportunity for a hearing before an individual is deprived of any significant property

    interest. See Boddie v. Connecticut, 401 U.S. 371, 379 (1971).

           218.289.      In the facilitation of compliance with the Fourteenth Amendment’s

    Due Process Clause, HUD requires that landlords include a written statement on every

    termination notice advising tenants that they have ten days to respond to the Notice to

    Vacate and discuss the termination of their tenancy. See HUD Handbook 4350.3, § 8-

    13(B)(2)(c)(4).

           219.290.      Defendants failed to provide this requisite notice when they issued

    Plaintiff McFadden a 30-Day Notice to Vacate on July 27, 2016, thereby depriving

    Plaintiff McFadden of the right to prevent the termination of her lease outside of the

    eviction process.

           220.291.      “The purpose of the requirement of the federal regulations and the

    lease agreement that a tenant must be afforded an opportunity to meet with the landlord




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    to discuss a proposed termination of tenancy is to attempt to resolve the controversy in

    a mutually satisfactory manner, that will, if possible, avoid the tenant’s loss of

    subsidized housing while protecting the rights of the landlord.” Gorsuch Homes, Inc. v.

    Wooten, 597 N.E.2d 554, 560 (Ohio App. 1992).

           221.292.      Defendants also failed to include a notice advising Plaintiff

    McFadden that should she remain in her unit, Defendants MHA could seek to enforce

    the termination of her lease only by bringing a judicial action, at which time Ms.

    McFadden would have been able to present a defense. See 24 C.F.R. § 247.4(a).

           222.293.      Defendants also failed to include a notice advising Ms. McFadden

    that persons with disabilities have the right to request reasonable accommodations to

    participate in the hearing process. See HUD Handbook 4350.3, § 8-13(B)(2)(c)(5).

           223.294.      Providing Plaintiff McFadden with the required written notices listed

    above, as well as the opportunity to meet with the landlord to discuss the proposed

    termination of her tenancy, would not have substantially burdened any government

    interests and are, in fact, required under HUD regulations and guidelines.

           224.295.      By failing to provide these notices, Defendants violated Plaintiff

    McFadden’s procedural due process rights under the Fourteenth Amendment.

           225.296.      Defendants’ actions or omissions described herein deprived

    Plaintiff McFadden of the rights, privileges, liberties, and immunities secured by the laws

    of the United States of America, and caused her other damages.

           226.297.      The acts or omissions of Defendants were the legal and proximate

    cause of Plaintiff McFadden’s damages, including but not limited to lost government

    benefits; psychological, emotional, and mental anguish; distress, humiliation,




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    embarrassment, and degradation; pain and suffering; and Plaintiff McFadden’s

    attorneys’ fees and costs in bringing this action.

           298.    Plaintiff McFadden has been and continues to be damaged by

    Defendants’ violation of her procedural due process rights under the Fourteenth

    Amendment.

                                  SEVENTH CLAIM FOR RELIEF
                                         42 U.S.C. § 3617
                                            Retaliation
      (All Plaintiffs Against Defendants Meeker Housing Authority, Stacie Kincher, Melinda
                             Parker, Edy George, and Michelle Buckler)

           299.    Plaintiffs hereby incorporate all of the paragraphs of this Second Amended

    Complaint as if fully set forth herein.

           300.    Plaintiffs engaged in conduct and speech in opposition to Defendants’

    discriminatory housing practices by exercising their rights afforded by federal fair

    housing laws, specifically by filing the present complaint.

           301.    MHA Defendants, directly or through their agents, retaliated against

    Plaintiffs because Plaintiffs exercised rights afforded to them under federal fair housing

    laws, specifically their right to bring this lawsuit.

           302.    MHA Defendants subjected the Whites to adverse housing actions in the

    form of failing to provide the Whites with annual recertification notices, unlawfully

    terminating the Whites’ housing assistance payments, seeking unspecified sums of

    money from the Whites to repay sums not owed, targeting the Whites for auditing, and

    revealing highly sensitive confidential medical information regarding A.J. White to third

    parties. MHA Defendants have engaged in this conduct with the intent of constructively

    or directly evicting the Whites.




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           303.   MHA Defendants subjected Ms. McFadden to adverse actions in the form

    of filing a frivolous counterclaim against her seeking damages which were either not

    incurred by MHA Defendants or not attributable to Ms. McFadden, and the collection of

    which MHA Defendants know is legally barred. MHA Defendants have engaged in this

    conduct with the intent of retaliating against Ms. McFadden and coercing, intimidating,

    or threatening her to dismiss the present claims against MHA Defendants.

           304.   MHA Defendants are aware that their allegedly legitimate reasons for

    these adverse housing actions are not compliant with state and federal law as well as

    HUD regulations and guidelines, and yet MHA Defendants continue to procced with this

    course of unlawful conduct.

           305.   MHA Defendants have treated Plaintiffs less favorably than similarly

    situated tenants at Karen Court who did not engage in protected opposition to MHA

    Defendants’ discriminatory housing practices.

           306.   MHA Defendants’ conduct was engaged in with malice or with reckless

    indifference to the federally protected rights of Plaintiffs within the meaning of the FHA.

           307.   As a result of MHA Defendants’ retaliatory actions, Plaintiffs have suffered

    significant injuries and losses.

                                   EIGHTH CLAIM FOR RELIEF
                                         42 U.S.C. § 3617
                                           Interference
      (All Plaintiffs Against Defendants Meeker Housing Authority, Stacie Kincher, Melinda
                             Parker, Edy George, and Michelle Buckler)

           308.   Plaintiffs hereby incorporate all of the paragraphs of this Second Amended

    Complaint as if fully set forth herein.




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           309.   Section 3617 of the FHA provides as follows: “It shall be unlawful to

    coerce, intimidate, threaten, or interfere with any person in the exercise or enjoyment of,

    or on account of his having exercised or enjoyed, or on account of his having aided or

    encouraged any other person in the exercise or enjoyment of, any right granted or

    protected by [the Fair Housing Act].”

           310.   Plaintiffs Megan McFadden and A.J. White are “handicapped” as defined

    in 42 U.S.C. § 3602(h), and this statutory term as used in this Complaint has the same

    meaning as “disabled.”

           311.   Plaintiff Lonnie White lives with an individual who is “handicapped” as

    defined in 42 U.S.C. § 3602(h).

           312.   By filing the present lawsuit, Plaintiffs exercised or enjoyed a right protected

    by the FHA.

           313.   MHA Defendants have coerced, intimidated, threatened, and interfered

    with the Whites’ exercise or enjoyment of this right by subjecting the Whites to adverse

    housing actions in the form of failing to provide the Whites with annual recertification

    notices, unlawfully terminating the Whites’ housing assistance payments, seeking

    unspecified sums of money from the Whites to repay sums not owed, targeting the

    Whites for auditing, and revealing highly sensitive confidential medical information

    regarding A.J. White to third parties. MHA Defendants have engaged in this conduct

    with the intent of constructively or directly evicting the Whites.

           314.   MHA Defendants have coerced, intimidated, threatened, and interfered

    with Ms. McFadden’s exercise or enjoyment of this right by subjecting Ms. McFadden to

    adverse housing actions in the form of filing a frivolous counterclaim against her seeking




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    damages which were either not incurred by MHA Defendants or not attributable to Ms.

    McFadden, and the collection of which MHA Defendants know is legally barred. MHA

    Defendants have engaged in this conduct with the intent of retaliating against Ms.

    McFadden and coercing, intimidating, or threatening her to dismiss the present claims

    against MHA Defendants.

           315.   At least in part, MHA Defendants’ conduct and actions were motivated by

    intentional discrimination.

           316.   MHA Defendants’ conduct and actions as described above constitute

    coercion, intimidation, a threat, or interference on account of Plaintiffs’ having exercised

    their rights protected under the FHA.

           317.   MHA Defendants’ conduct, as described herein, constitutes a pattern of

    harassment, invidiously motivated, due to Plaintiffs’ assertion of their civil rights under the

    FHA, as well as due to their disabilities and their disability-related needs.

           318.   As a result of MHA Defendants’ interference with Plaintiffs’ federally

    protected rights under the FHA, Plaintiffs have suffered significant injuries, damages,

    and losses.

                                    NINTH CLAIM FOR RELIEF
                      § 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794
                                            Retaliation
      (All Plaintiffs Against Defendants Meeker Housing Authority, Stacie Kincher, Melinda
                             Parker, Edy George, and Michelle Buckler)

           319.   Plaintiffs hereby incorporate all of the paragraphs of this Second Amended

    Complaint as if fully set forth herein.




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           320.    Plaintiffs engaged in conduct and speech in opposition to Defendants’

    discriminatory housing practices by exercising their rights afforded by federal fair

    housing laws, specifically by filing the present complaint.

           321.    MHA Defendants, directly or through their agents, retaliated against

    Plaintiffs because Plaintiffs exercised rights afforded to them under federal fair housing

    laws, specifically their right to bring this lawsuit.

           322.    MHA Defendants subjected the Whites to adverse housing actions in the

    form of failing to provide the Whites with annual recertification notices, unlawfully

    terminating the Whites’ housing assistance payments, seeking unspecified sums of

    money from the Whites to repay sums not owed, targeting the Whites for auditing, and

    revealing highly sensitive confidential medical information regarding A.J. White to third

    parties. MHA Defendants have engaged in this conduct with the intent of constructively

    or directly evicting the Whites.

           323.    MHA Defendants subjected Ms. McFadden to adverse actions in the form

    of filing a frivolous counterclaim against her seeking damages which were either not

    incurred by MHA Defendants or not attributable to Ms. McFadden, and the collection of

    which MHA Defendants know is legally barred. MHA Defendants have engaged in this

    conduct with the intent of retaliating against Ms. McFadden and coercing, intimidating,

    or threatening her to dismiss the present claims against MHA Defendants.

           324.    MHA Defendants are aware that their allegedly legitimate reasons for

    these adverse housing actions are not compliant with state and federal law as well as

    HUD regulations and guidelines, and yet MHA Defendants continue to procced with this

    course of unlawful conduct.




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           325.   MHA Defendants have treated Plaintiffs less favorably than similarly

    situated tenants at Karen Court who did not engage in protected opposition to MHA

    Defendants’ discriminatory housing practices.

           326.   MHA Defendants’ conduct was engaged in with malice or with reckless

    indifference to the federally protected rights of Plaintiffs within the meaning of the FHA.

           327.   As a result of MHA Defendants’ retaliatory actions, Plaintiffs have suffered

    significant injuries and losses.

                                TENTH CLAIM FOR RELIEF
                      C.R.S. § 38-12-103 – Return of Security Deposit
                             Failure to Return Security Deposit
      (Plaintiff McFadden Against Defendants Meeker Housing Authority, Stacie Kincher,
                      Melinda Parker, Edy George, and Michelle Buckler)

           328.   Plaintiffs hereby incorporate all of the paragraphs of this Second Amended

    Complaint as if fully set forth herein.

           329.   Under Colorado law, a landlord is required to return a tenant’s security

    deposit within one month of the surrender and acceptance of the premises unless the

    tenant is provided with a written statement listing the exact reasons for the retention of

    any portion of the security deposit. A security deposit may not be retained to cover

    normal wear and tear.

           330.   Ms. McFadden surrendered her unit at Karen Court on September 8,

    2016, and MHA Defendants accepted the premises on September 9, 2016.

           331.   MHA Defendants have never refunded Ms. McFadden her security

    deposit.




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           332.   MHA Defendants never sent Ms. McFadden a letter indicating that they

    would be retaining any portion of the security deposit in order to cover the costs of

    repairs to her unit.

           333.   The failure of MHA Defendants to provide Ms. McFadden with this notice

    constitutes a forfeiture of all rights to withhold any portion of the security deposit.

           334.   MHA Defendants willfully retained Ms. McFadden’s security deposit such

    that Ms. McFadden is entitled to treble damages along with reasonable attorneys’ fees

    and costs associated with the collection of this amount.

                                  ELEVENTH CLAIM FOR RELIEF
                           42 U.S.C. § 1983 - Fourteenth Amendment
                         Deprivation of Property Without Due Process
                     (Plaintiffs Lonnie and A.J. White Against All Defendants)

           335.   Plaintiffs hereby incorporate all of the paragraphs of this Second Amended

    Complaint as if fully set forth herein.

           336.   At all times relevant to this claim, Defendants Meeker, MHA, Parker,

    Buckler, George, and Kincher were “persons” under 42 U.S.C. § 1983.

           337.   At all times relevant to this claim, Defendants Parker, Buckler, George,

    and Kincher in their collective role as the MHA Board acted as final policymakers for

    Meeker in their role adopting and implementing policies for the Meeker Housing

    Authority.

           338.   At all times relevant to this claim, Defendants Parker, Buckler, George,

    and Kincher were acting under color of state law in their capacities as MHA Board

    members appointed by Meeker’s Board of Trustees.

           339.   At all times relevant to this claim, Defendant MHA acted as a final

    policymaker for Meeker in its role managing the Meeker Family and Elderly Housing



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    project known as Karen Court, including enforcing policies adopted by its Board

    members appointed by Meeker’s Board of Trustees.

           340.   At all times relevant to this claim, Defendant MHA was acting under color

    of state law in its capacity as a public housing authority created pursuant to Colorado

    Revised Statute § 29-4-201, et seq.

           341.   Plaintiffs’ receipt of subsidized housing through their participation in the

    Project Based Section 8 Subsidy program administered by Defendants is a property

    interest protected by the due process clause of the Fourteenth Amendment. See

    Caulder v. Durham Hous. Auth., 433 F.2d 998, 1002 (4th Cir. 1970); Goldberg v. Kelly,

    397 U.S. 254 (1970).

           342.   Plaintiffs have a clearly established right under the Fourteenth

    Amendment not to be deprived of their property without due process of law.

           343.   Any reasonable person acting under color of state law knew or should

    have known of this clearly established right.

           344.   The Due Process Clause of the Fourteenth Amendment mandates the

    opportunity for a hearing before an individual is deprived of any significant property

    interest. See Boddie v. Connecticut, 401 U.S. 371, 379 (1971).

           345.   A tenant in subsidized housing has the following constitutional rights

    before the termination of his benefits: (1) timely and adequate notice detailing the

    reasons for a proposed termination; (2) an opportunity to confront and cross-examine

    adverse witnesses; (3) the right to be represented by counsel to delineate the issues,

    present the factual contentions in an orderly manner, conduct cross-examinations, and

    generally to safeguard his interests; (4) a decision, based on evidence adduced at the




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    hearing, in which the reasons for decision and the evidence relied on are set forth; and

    (5) an impartial decisionmaker. Caulder v. Durham Hous. Auth., 433 F.2d ay 1004.

           346.    Defendants unlawfully terminated the Whites’ benefits on April 20, 2017

    without providing timely and adequate notice detailing the reasons for the proposed

    termination.

           347.    Defendants unlawfully terminated the Whites’ benefits without being

    provided any adjudicatory rights, including the basic right to a hearing.

           348.    By failing to provide an adequate notice of termination of assistance in

    addition to a hearing on the matter, Defendants violated the Whites’ procedural due

    process rights under the Fourteenth Amendment.

           349.    Defendants’ actions or omissions described herein deprived Plaintiffs

    Lonnie and A.J. White of the rights, privileges, liberties, and immunities secured by the

    laws of the United States of America, and caused them other damages.

           350.    The acts or omissions of Defendants were the legal and proximate cause

    of Plaintiffs Lonnie and A.J. Whites’ damages, including but not limited to lost

    government benefits; psychological, emotional, and mental anguish; distress,

    humiliation, embarrassment, and degradation; pain and suffering; and attorneys’ fees

    and costs in bringing this action.

           351.    Plaintiffs Lonnie and A.J. White have been and continue to be damaged

    by Defendants’ violation of their procedural due process rights under the Fourteenth

    Amendment.




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                                      PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in

    their favor and against Defendants, and award them all relief as allowed by law,

    including, but not limited to the following:

               a. A declaration that Defendants have violated the FHA, § 504 of the

                  Rehabilitation Act, and the Fourteenth Amendment of the United States

                  Constitution.

               b. Issuance of a temporary restraining order and preliminary injunction

                  prohibiting Defendants and their agents from initiating eviction

                  proceedings against Plaintiffs Lonnie and A.J. White.

               c. All appropriate equitable relief including changes to Defendants’ policies

                  concerning persons with disabilities and other declaratory and injunctive

                  remedies, as appropriate;

               d. Actual economic damages as established at trial;

               e. Compensatory damages, including, but not limited to, those for past and

                  future pecuniary and non-pecuniary losses, emotional distress, suffering,

                  loss of reputation, humiliation, inconvenience, mental anguish, loss of

                  enjoyment of life, and other nonpecuniary losses;

               f. Punitive and/or liquidated damages for all claims allowed by law in an

                  amount to be determined at trial;

               g. Pre-judgment and post-judgment interest at the highest lawful rate;

               h. Attorneys’ fees and costs; and

               i. Such further relief as justice requires.




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           PLAINTIFFS DEMAND A JURY TRIAL ON ALL ISSUES SO TRIABLE

          DATED this 17th 219th day of NovemberFebruaryMay, 20176.

                                               RATHOD ǀ MOHAMEDBHAI LLC

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